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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
STATE OF TEXAS,                                )
                                               )
                       Plaintiff,              )
and                                            )
                                               )
BAYOU CITY WATERKEEPER,                        )
                                               )
               Plaintiff-Intervenor,           )
                                               )
               v.                              )      Civil Action No. 4:18-cv-03368
                                               )      Judge EWING WERLEIN, JR.
CITY OF HOUSTON, TEXAS,                        )
                                               )
                       Defendant.              )
                                               )

                      EIGHTH JOINT REPORT ON THE PROGRESS
                          OF SETTLEMENT NEGOTIATIONS

       Plaintiffs, the United States of America and the State of Texas (“State”), and Defendant

City of Houston (collectively, the “Negotiating Parties”) file this Eighth Joint Report on the

Progress of Settlement Negotiations (“Joint Report”). The Seventh Joint Report (ECF No. 38)

filed by the Negotiating Parties advised the Court that a proposed settlement had been reached by

the negotiating teams, and that the United States and the State have completed their respective

review and pre-approval/disapproval processes. The Seventh Joint Report also advised the Court

that Counsel for the United States would proceed promptly to notify the City of the results of the

Plaintiffs’ respective processes and thereafter advise the Court of the status of this matter as
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promptly as possible. Accordingly, Counsel of the United States and the State file this Eighth

Joint Report to keep the Court advised of the status of this matter.

       At this time, Counsel for the United States and the State advise the Court that they have

notified the City of the results of their respective review and pre-approval/disapproval processes.

Counsel for Negotiating Parties will keep the Court advised of the status of this matter.



                                              Respectfully submitted,

                                              FOR THE UNITED STATES

                                              BRUCE S. GELBER
                                              Deputy Assistant Attorney General
                                              Environment and Natural Resources Division
                                              U.S. Department of Justice

                                              s/ Nathaniel Douglas
                                              NATHANIEL DOUGLAS
                                              Pennsylvania Bar No. 18217
                                              Deputy Section Chief
                                              Environmental Enforcement Section
                                              Environment and Natural Resources Division
                                              United States Department of Justice
                                              P.O. Box 7611
                                              Washington, DC, 20004
                                              Ph: (202) 514-4628
                                              Fax: (202) 616-6584
                                              Nathaniel.Douglas@usdoj.gov
                                              Attorney-in-charge for the United States

                                              RYAN PATRICK
                                              United States Attorney
                                              Southern District of Texas

                                              DANIEL D. HU
                                              Assistant United States Attorney
                                              Chief, Civil Division
                                              SD Texas ID 7959
                                              Texas bar number 10131415
                                              1000 Louisiana, Suite 2300

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                                        Houston, TX 77002
                                        Ph: (713) 567-9518
                                        Daniel.Hu@usdoj.gov

OF COUNSEL:

MORGAN ROG
Attorney-Advisor
United States Environmental Protection Agency
Office of Enforcement and Compliance Assurance
1200 Pennsylvania Avenue, NW
Washington, D.C. 20460


EFREN ORDÓÑEZ
Senior Assistant Regional Counsel
U.S. Environmental Protection Agency
Region VI
1445 Ross Ave., Suite 1200
Dallas, TX 75202

                                        FOR THE STATE OF TEXAS

                                        KEN PAXTON
                                        Attorney General of Texas

                                        JEFFREY C. MATEER
                                        First Assistant Attorney General

                                        DARREN C. MCCARTY
                                        Deputy Attorney General for Civil Litigation

                                        PRISCILLA M. HUBENAK
                                        Chief, Environmental Protection Division

                                        s/ Phillip Ledbetter
                                        PHILLIP LEDBETTER
                                        Assistant Attorney General
                                        Attorney-in-Charge
                                        State Bar No. 24041316
                                        S.D. Bar No. 1401529
                                        Phillip.Ledbetter@oag.texas.gov

                                        Office of the Attorney General of Texas
                                        Environmental Protection Division

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                               P.O. Box 12548, MC-066
                               Austin, TX 78711-2548
                               Telephone: 512-475-4152
                               Facsimile: 512-320-0911

                               ATTORNEYS FOR THE STATE OF TEXAS




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                                CERTIFICATE OF SERVICE


       I hereby certify that on July 1, 2019, a copy of the foregoing Eighth Joint Report on the

Progress of Settlement Negotiations was filed electronically with the Clerk of Court using the

CM/ECF system. I also certify that I caused this filing to be served by e-mail and U.S. Mail on

the following counsel:

Tiffany S. Bingham
Senior Assistant City Attorney
900 Bagby, 4th Floor
Houston, Texas 77002
tiffany.bingham@houstontx.gov

Phillip M. Goodwin
Regulatory Compliance Director
Houston Public Works
611 Walker
Houston TX 77002
phillip.goodwin@houstontx.gov


                                              s/ Nathaniel Douglas
                                             NATHANIEL DOUGLAS




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